






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00236-CV






Richard Rogers, Jr., Appellant


v.


Mary Sanchez, Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 425TH JUDICIAL DISTRICT

NO. 09-1485-F425, HONORABLE MARK J. SILVERSTONE, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		After receiving notice from the trial court's clerk's office that no payment or
arrangement to pay had been made by appellant Richard Rogers, Jr., this Court's clerk's office
sent&nbsp;notice by letter dated June 28, 2010, to appellant that the clerk's record was overdue, stating
the&nbsp;following:


	The Clerk of this Court filed appellant's notice of appeal on April 22, 2010.  Notice
was received from the district clerk's office of Williamson County, Texas, on
June&nbsp;11, 2010, indicating appellant has neither paid, nor made arrangements
for&nbsp;payment, for the clerk's record.  Accordingly, the clerk's record will not be
timely&nbsp;filed.


	Appellant is requested to make arrangements for the record and submit a status report
regarding this appeal.  A response regarding this matter is requested by this Court on
or before July 08, 2010.  Failure to do so may result in the dismissal of this appeal
for want of prosecution.  See Tex. R. App. P. 37.3(b).


	If appellant has not already done so, he is instructed to make a written request to
the&nbsp;court reporter and make arrangements for payment of the record.  If appellant
does not wish to pursue this appeal please file a motion to dismiss.



No clerk's record and no response have been filed.

		This appeal is dismissed for want of prosecution.  See Tex. R. App. P. 37.3(b), 42.3.



						                                                                                     

						G. Alan Waldrop, Justice

Before Justices Patterson, Waldrop and Henson

Dismissed for Want of Prosecution

Filed:   August 20, 2010


